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                                         U.S. Department of Justice
[Type text]
                                                    United States Attorney
X`                                                  Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    January 20, 2020

BY ECF

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:    United States v. Michael Avenatti,
              S1 19 Cr. 373 (PGG)

Dear Judge Gardephe:

       The Government respectfully writes in response to the Court’s order of earlier today,
January 20, 2020, directing the Government to file a copy of Mark Geragos’s proffer agreement.
As the Government previously discussed with the defendant, the Government has not to date
located an executed version of the agreement. However, the agreement, which was executed by
Mr. Geragos, was the United States Attorney’s Office’s standard form agreement for such proffers,
a copy of which is enclosed (and was produced to the defendant as 3557-012).

                                                    Respectfully submitted,

                                                    GEOFFREY S. BERMAN
                                                    United States Attorney

                                             By:    s/ Daniel C. Richenthal
                                                    Matthew D. Podolsky
                                                    Daniel C. Richenthal
                                                    Robert B. Sobelman
                                                    Assistant United States Attorneys
                                                    (212) 637-1947/2109/2616

Enclosure

cc:    (by ECF)

       Counsel of Record
